            Case 3:22-cv-03070-TSH Document 55 Filed 10/16/23 Page 1 of 2



                                     UNITED STATES DISTRICT COURT

                                   NORTHERN DISTRICT OF CALIFORNIA



                                           RELATED CASE ORDER




         A Motion for Administrative Relief to Consider Whether Cases Should be Related or a Sua Sponte
Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been filed. The time for
filing an opposition or statement of support has passed. As the judge assigned to case



         22-cv-03070-TSH
         United States of America v. Twitter, Inc.


        I find that the more recently filed case(s) that I have initialed below are related to the case
assigned to me, and such case(s) shall be reassigned to me. Any cases listed below that are not related to
the case assigned to me are referred to the judge assigned to the next-earliest filed case for a related
case determination.




Case                    Title                                         Related Not Related
23-mc-80245-PHK X CORP. v. ERNST & YOUNG, LLP X


                                                     ORDER



         The parties are instructed that all future filings in any reassigned case are to bear the initials of
the newly assigned judge immediately after the case number. Any case management conference in any
reassigned case will be rescheduled by the Court. The parties shall adjust the dates for the conference,
disclosures and report required by FRCivP 16 and 26 accordingly. Unless otherwise ordered, any dates for
hearing noticed motions are vacated and must be re- noticed by the moving party before the newly
assigned judge; any deadlines set by the ADR Local Rules remain in effect; and any deadlines established
in a case management order continue to govern, except dates for appearance in court, which will be
rescheduled by the newly assigned judge.




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Dated: October 16, 2023                By:

                                       Thomas S. Hixson

                                       United States Magistrate Judge




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